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                          UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION

 KATANA SILICON TECHNOLOGIES LLC,

                         Plaintiff,

 v.                                                     Case No.: 6:19-CV-695

 TAIWAN SEMICONDUCTOR                                   JURY TRIAL DEMANDED
 MANUFACTURING COMPANY, LTD., TSMC
 NORTH AMERICA, INC., and TSMC
 TECHNOLOGY, INC.

                         Defendants.

                       COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff Katana Silicon Technologies LLC (“Katana”), for its Complaint against

Defendants Taiwan Semiconductor Manufacturing Company, Ltd., TSMC North America, Inc.,

and TSMC Technology, Inc. (collectively, “Defendants” or “TSMC”) states as follows:

                                      NATURE OF THE CASE

       1.       This is an action for patent infringement of United States Patent Nos. 6,291,861;

6,677,212, 6,181,002, 6,352,879, RE38,806, 7,279,741, and 7,402,903 (collectively, the “Patents-

in-Suit”) under the patent laws of the United States, 35 U.S.C. § 1 et seq., including 35 U.S.C. §§

271, 281, 283, 284, and 285.

                                            PARTIES

       2.       Plaintiff Katana Silicon Technologies LLC is a corporation and existing under the

laws of the State of Texas, with its principal place of business at 8105 Razor Boulevard, Suite 210,

Plano, Texas 75024.
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         3.       Defendant Taiwan Semiconductor Manufacturing Company, Ltd. is a company

organized under the laws of Taiwan with its principal place of business at No. 8, Lin-Hsin Road 6,

Hsinchu Science Park, Hsinchu 300-78, Taiwan, Republic of China.

         4.       Defendant TSMC North America, Inc. is a wholly owned subsidiary of Defendant

Taiwan Semiconductor Manufacturing Company, Ltd. TSMC North America, Inc. is a California

corporation, and has a physical place of business at 1921 North Mopac Expressway, Austin, Texas

78759. TSMC North America, Inc. is actively transacting business in Texas and this District. The

Registered Agent for process is Steven A. Schulman, 2851 Junction Avenue, San Jose, California

95134.

         5.       Defendant TSMC Technology, Inc. is a Delaware corporation with its principal

place of business at 2851 Junction Avenue, San Jose, California 95134. TSMC Technology, Inc.

is a wholly owned subsidiary of Taiwan Semiconductor Manufacturing Company, Ltd.

         6.       Defendants Taiwan Semiconductor Manufacturing Company, Ltd., TSMC North

America, Inc., and TSMC Technology, Inc. are related entities that work in concert to design,

manufacture, import, distribute, market, and/or sell the infringing devices.

                                           JURISDICTION

         7.       This action arises under the Patent Laws of the United States, 35 U.S.C. § 1 et seq.,

including 35 U.S.C. §§ 271, 281, 283, 284, and 285.

         8.       This is a patent infringement lawsuit over which this Court has subject matter

jurisdiction under 28 U.S.C. §§ 1331, 1332 and 1338(a).

         9.       Defendants are subject to this Court’s specific and general personal jurisdiction

pursuant to due process and/or the Texas Long Arm Statute, by virtue of at least to its substantial

business conducted in this forum, directly and/or through intermediaries, including (i) having

solicited business in the State of Texas, transacted business within the State of Texas and attempted


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to derive financial benefit from residents of the State of Texas, including benefits directly related

to the instant patent infringement causes of action set forth herein; (ii) having placed its products

and services into the stream of commerce throughout the United States and having been actively

engaged in transacting business in Texas and in this District; and (iii) either alone or in conjunction

with others, having committed acts of infringement within Texas and in this District.

       10.     On information and belief, within the District, Defendants directly and/or through

intermediaries have advertised (including through websites), offered to sell, sold and/or distributed

infringing products, and/or have induced the sale and use of infringing products in the United

States, Texas, and this District.

       11.     On information and belief, each Defendant has, directly or through its distribution

network, purposefully and voluntarily placed such products in the stream of commerce knowing

and expecting them to be purchased and used by consumers in Texas and this District.

       12.     On information and belief, each Defendant has committed direct infringement in

Texas and this District.

       13.     On information and belief, each Defendant has committed indirect infringement

based on acts of direct infringement in Texas and this District.

       14.     On information and belief, Defendants have derived substantial revenues from their

infringing acts in this District, including from their manufacturing and sale of infringing products

in the United States.

                                              VENUE

       15.     Venue is proper against Taiwan Semiconductor Manufacturing Company, Ltd. in

this District pursuant to 28 U.S.C. § 1391(c)(3).

       16.     Venue is proper against TSMC North America, Inc. in this District pursuant to 28

U.S.C. § 1400(b) because TSMC North America, Inc. has a regular and established place of


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business in this District and has committed acts of infringement in this District. TSMC North

America, Inc. has a permanent office location at Stone Creek II, N. Mopac Expressway, Austin,

Texas 78759, which is in Travis County and within this District.

       17.      TSMC North America, Inc. also employs full-time personnel such as sales

personnel and engineers in this district, including in Austin, Texas. TSMC North America, Inc.

has also committed acts of infringement in this district by commercializing, marketing, selling,

distributing, testing, and/or servicing certain products accused of infringement in this action.

       18.      Venue is proper against TSMC Technology, Inc. in this District pursuant to 28

U.S.C. § 1400(b) because TSMC Technology, Inc. has a regular and establish place of business in

this District and has committed acts of infringement in this District. TSMC Technology, Inc. has

a permanent office location at 11921 N. Mopac Expressway, Austin, Texas 78759, which is in

Travis County and within this District.

       19.      TSMC Technology, Inc. also employs full-time personnel such as engineers in this

district, including in Austin, Texas. TSMC Technology, Inc. has also committed acts of

infringement in this district by commercializing, marketing, selling, distributing, testing, and/or

servicing certain TSMC-branded devices accused of infringement in this action.

       20.      Without limitation, on information and belief, within this District, Defendants

directly and/or through intermediaries, have advertised (including through websites), offered to

sell, sold, and/or distributed infringing products, and/or have induced the sale and use of infringing

products.

       21.      On information and belief, each Defendant has transacted, and at the time of the

filing of the Complaint, is continuing to transact business within this District.




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       22.     On information and belief, each Defendant exercises direction and control over the

performance of each other Defendant, or they form a joint enterprise such that the performance by

one Defendant is attributable to each other Defendant.

                                        BACKGROUND

       23.     On September 18, 2001, U.S. Patent Number 6,291,861 (the “’861 Patent”), entitled

“Semiconductor Device and Method for Producing the Same,” was duly and legally issued by the

United States Patent and Trademark Office. A true and correct copy of the ’861 Patent is attached

as Exhibit A to this Complaint.

       24.     The ’861 Patent issued from U.S. patent application Serial Number 09/345,414

filed on June 30, 1999 and discloses a design and process of fabricating semiconductor devices.

       25.     More specifically, the ’861 Patent is directed towards field-effect transistors

(“FETs”).

       26.     The ’861 Patent claims patent-eligible subject matter and is valid and enforceable.

       27.     Katana is the sole owner of all rights, title, and interest in and to the ’861 Patent

including the right to sue for and collect past, present, and future damages and to seek and obtain

injunctive or any other relief for infringement of the ’861 Patent.

       28.     Defendants are not licensed to the ’861 Patent in either an express or implied

manner.

       29.     On January 13, 2004, U.S. Patent Number 6,677,212 (the “’212 Patent”), entitled

“Elevated Source/Drain Field Effect Transistor and Method for Making the Same,” was duly and

legally issued by the United States Patent and Trademark Office. A true and correct copy of the

’212 Patent is attached as Exhibit B to this Complaint.




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       30.     The ’212 Patent issued from U.S. Patent application Serial Number 10/070,478

filed on September 6, 2000 and discloses the use of an elevated source/drain field in order to reduce

short channel effects and increase drive power.

       31.     More specifically, the ’212 Patent is directed towards FETs.

       32.     The ’212 Patent claims patent-eligible subject matter and is valid and enforceable.

       33.     Katana is the sole owner of all rights, title, and interest in and to the ’212 Patent

including the right to sue for and collect past, present, and future damages and to seek and obtain

injunctive or any other relief for the infringement of the ’212 Patent.

       34.     Defendants are not licensed to the ’212 Patent in either an express or implied

manner.

       35.     On January 30, 2001, U.S. Patent Number 6,181,002 (the “’002 Patent”), entitled

“Semiconductor Device Having a Plurality of Semiconductor Chips,” was duly and legally issued

by the United States Patent and Trademark Office. A true and correct copy of the ’002 Patent is

attached as Exhibit C to this Complaint.

       36.     The ’002 Patent issued from U.S. patent application Serial Number 09/460,245

filed on December 13, 1999 and discloses and relates to the design and specifications of fabricating

semiconductor devices.

       37.     The ’002 Patent claims patent-eligible subject matter and is valid and enforceable.

       38.     Katana is the sole owner of all rights, title, and interest in and to the ’002 Patent

including the right to sue for and collect past, present, and future damages and to seek and obtain

injunctive or any other relief for the infringement of the ’002 Patent.

       39.     Defendants are not licensed to the ’002 Patent in either an express or implied

manner.




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       40.     On March 5, 2002, U.S. Patent Number 6,352,879 (the “’879 Patent”), entitled

“Semiconductor Device and Method for Making the Same,” was duly and legally issued by the

United States Patent and Trademark Office. A true and correct copy of the ’879 Patent is attached

as Exhibit D to this Complaint.

       41.     The ’879 Patent issued from U.S. patent application Serial Number 09/604,081

filed on June 27, 2000 and discloses a design and process of fabricating semiconductor devices.

       42.     The ’879 Patent claims patent-eligible subject matter and is valid and enforceable.

       43.     Katana is the sole owner of all rights, title, and interest in and to the ’879 Patent

including the right to sue for and collect past, present, and future damages and to seek and obtain

injunctive or any other relief for infringement of the ’879 Patent.

       44.     Defendants are not licensed to the ’879 Patent in either an express or implied

manner.

       45.     On October 4, 2005, U.S. Patent Number RE38,806 (the “’806 Patent”) entitled

“Semiconductor Device and Method for Manufacturing the Same,” was duly and legally issued by

the United States Patent and Trademark Office. A true and correct copy of the ’806 Patent is

attached as Exhibit E to this Complaint.

       46.     The ’806 Patent issued from U.S. patent application Serial Number 10/428,013

filed on May 2, 2003 and discloses a design and process of fabricating semiconductor devices.

       47.     The ’806 Patent claims patent-eligible subject matter and is valid and enforceable.

       48.     Katana is the sole owner of all rights, title, and interest in and to the ’806 Patent

including the right to sue for and collect past, present, and future damages and to seek and obtain

injunctive or any other relief for the infringement of the ’806 Patent.




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       49.     Defendants are not licensed to the ’806 Patent in either an express or implied

manner.

       50.     On October 9, 2007, U.S. Patent Number 7,279,741 (the “’741 Patent), entitled

“Semiconductor Device with Increased Effective Channel Length and Method of Manufacturing

the Same,” was duly and legally issued by the USPTO. A true and correct copy of the ’741 Patent

is attached as Exhibit F to this Complaint.

       51.     The ’741 Patent claims patent-eligible subject matter and is valid and enforceable.

       52.     Katana is the sole owner of all rights, title, and interest in and to the ’741 Patent

including the right to sue for and collect past, present, and future damages and to seek and obtain

injunctive or any other relief for infringement of the ’741 Patent.

       53.     On July 22, 2008, U.S. Patent Number 7,402,903 (the “’903 Patent), entitled

“Semiconductor Device,” was duly and legally issued by the USPTO. A true and correct copy of

the ’903 Patent is attached as Exhibit G to this Complaint.

       54.     The ’903 Patent claims patent-eligible subject matter and is valid and enforceable.

       55.     Katana is the sole owner of all rights, title, and interest in and to the ’903 Patent

including the right to sue for and collect past, present, and future damages and to seek and obtain

injunctive or any other relief for infringement of the ’903 Patent.

       56.     Defendants own and operate a foundry in Taiwan which manufactures at least some

of the infringing semiconductor devices.

       57.     Defendant TSMC North America, Inc. is a wholly owned subsidiary of Taiwan

Semiconductor Manufacturing Company, Ltd. that sells manufactured chips in the United States,

including those that incorporate the infringing technologies.




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       58.     Defendants do a substantial amount of business with third parties who sell

consumer products in the United States.

       59.     Defendants are constructively aware that a significant amount of its products are

incorporated and eventually sold primarily in the United States.

               DEFENDANTS’ INFRINGING PRODUCTS AND METHODS

       60.     Transistors are semiconductor devices that are formed on wafers, which are made

by foundries. Wafers contain multiple, identical chips which are designed by chip designers.

Individual chips are cut from wafers and packaged. Those chips go into a variety of consumer

products, such as smartphones, tablets, personal computers, and automobile parts and components.

Chips are also referred to as “integrated circuits.”

       61.     A chip designer designs its own chips that go into consumer products. A “fabless”

chip designer uses and/or contracts with foundries to manufacture chips. A foundry manufactures

chips for its customers, which may include chip customer companies. A chip customer company

then incorporates those chips into its consumer products. For example, TSMC is a foundry and has

contracts with many prominent chip designers to manufacture chips which are eventually

incorporated into many consumer products.

       62.     Defendants make, use, sell, offer for sale, and/or import into the United States

processor chips that infringe at least claims 1-11, 17-20, 22, 24, and 25 of ’861 Patent; claims 4,

6, and 8 of the ’212 Patent; claims 1-3, 7-9, 13, and 14 of the ’002 Patent; claims 1, 2, and 15 of

the ’879 Patent; claims 1, 12, 23, and 30 of the ’806 Patent; claims 8-10, 12, 15, and 16 of the ’741

Patent; and claims 8, 9, 11-17, and 19-22 of the ’903 Patent.

       63.     Defendants manufacture semiconductor devices at a variety of different process

nodes, including, the 7-nanometer (“7nm”), 10-nanometer (“10nm”), 12-nanometer (“12nm”), 16-




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nanometer (“16nm”), 20-nanometer (“20nm”), 28-nanometer (“28nm”), 40-nanometer (“40nm”),

and 45-nanometer (“45nm”) process nodes.

       64.    The semiconductor devices manufactured by Defendants are, in turn, incorporated

into third party electronic components and products, such as computer chips, smartphones and

other mobile devices, computer graphic cards, PC cameras, digital cameras and recorders, digital

TVs, toys, security systems, video cameras, and other portable devices.

       65.    For example, semiconductor devices made according to Defendants’ 16nm process

node have been incorporated into the Apple A9 chip, which has been incorporated into and for the

Apple iPhone 6S and 6S plus products.

       66.    For example, semiconductor devices made according to Defendants’ 20nm process

node have been incorporated into the Qualcomm MDM9235M 4G LTE modem, which has been

incorporated into the Samsung Galaxy S5 product.

       67.      For example, semiconductor devices made according to Defendants’ 28nm

process node have been incorporated into the Qualcomm MDM9215M 4G LTE advanced modem,

which has been incorporated into the Samsung Galaxy S4 product.

       68.    For example, semiconductor devices made according to Defendants’ 40nm process

node have been incorporated into the Altera Stratix IV GX FPGA.

       69.    Defendants also manufacture semiconductor packages using a variety of packaging

technologies, including Integrated Fan-Out (InFO) wafer level packaging technology.

       70.    For example, TSMC uses its InFO wafer level packaging technology to

manufacture the Apple A10 chip, which has been incorporated into the Apple iPhone 7 and 7 Plus

products.




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       71.        For example, TSMC uses its InFO wafer level packaging technology to

manufacture the Apple A11 chip, which has been incorporated into the Apple iPhone 8, 8 Plus,

and iPhone X products.

       72.        For example, TSMC uses a 40-nanometer and 45-nanometer ultra-low-power

(ULP) CMOS process to manufacture the G8232 Rear-Cam ISP for use in the Sony IMX400,

Broadcom      BCM15900D0KWFBG              Touch    Screen   Controller,   Ambiq     Micro    Apollo2

Microcontroller, NVIDIA T33-P-A3 Application Processor, Freescale MCIMX6Q5EYM10AC

Integrated Multimedia Application Processor, and MediaTek 40nm MT6577 Dual Core

Application Processor, and other devices in which an insulating layer is used to prevent a short

channel effect.

       73.        Defendants also manufacture Through-Silicon-Via (TSV) induced complementary

metal–oxide–semiconductor (CMOS) image sensors (“TSV CMOS Image Sensors”).

       74.        In turn, Defendants’ TSV CMOS Image Sensors are incorporated into PC cameras,

digital cameras and recorders, digital TVs, toys, security systems, video cameras and other portable

devices.

       75.        The term “Accused Instrumentalities” used hereafter, shall refer to all products that

the Defendants have manufactured by practicing the named ’861, ’212, ’002, ’879, ’806, ’741,

and/or ’903 Patents.

                      COUNT I – INFRINGEMENT OF THE ’861 PATENT

       76.        Katana hereby realleges paragraphs 1 through 75 as though fully set forth herein.

       77.        Defendants directly and/or through its subsidiaries, affiliates, agents, and/or

business partners, have in the past and continue to directly infringe at least claims 1-11, 16-20, 22,

24, and 25 of the ’861 Patent pursuant to 35 U.S.C. § 271(a) by making, using, selling, or offering




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to sell, and/or importing integrated circuits devices that embody the inventions claimed in the ’861

Patent, within the United States and this District.

        78.     On information and belief, the accused integrated circuit devices include a

semiconductor device comprising a device separation region and an active region, the

semiconductor device including a gate having a gate dielectric film and a side wall spacer, a

source/drain, and a contact which is electrically coupled to the source/drain, wherein the active

region is in contact with the gate dielectric film at a surface of the active region coincident with a

first surface, a portion of the source/drain being located above the first surface; and wherein the

contact is in contact with the source/drain at a source/drain surface defining a second surface, the

second surface passing through a segment connecting a first point on the source/drain surface in

contact with the device separation region to a second point on an edge of the source/drain surface

in contact with the side wall spacer, constituting an angle with respect to the first surface.

        79.     On information and belief, the accused integrated circuit devices include a

semiconductor device comprising a device separation region and an active region, the

semiconductor device including: a gate having a side wall spacer and a gate dielectric film; a

source/drain, said source/drain having a region above a first surface coincident with a surface of

the active region, said source/drain having a source/drain surface in a second surface defined by a

segment connecting a first point on the source/drain surface in contact with the device separation

region to a second point on an edge of the source/drain surface in contact with the side wall spacer,

said second surface being arranged at an angle with respect to the first surface, wherein a portion

of the source/drain partially covers the device separation region; and a contact electrically coupled

to the source/drain, wherein the active region is in contact with the gate dielectric film at the surface

of the active region.




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       80.     On information and belief, the accused integrated circuit devices include a

semiconductor device, comprising: a gate dielectric film provided beneath a gate electrode on a

substrate, said gate electrode and gate dielectric film sandwiched by a pair of vertical insulating

film walls, said gate dielectric film and gate electrode having an equal width as viewed in a cross-

sectional plane; and a pair of source/drains, each of the source/drains having a vertical face that

meets a corresponding vertical insulating film wall so as to sandwich said gate dielectric film, gate

electrode, and vertical insulating film walls therebetween, and having a first continuous angular

face that slopes downward from a junction with its vertical face and corresponding vertical

insulating film wall to a corresponding device separation region.

       81.     Defendants have been and are engaged in one or more of these direct infringing

activities related to their integrated circuit devices having transistors and related structures

manufactured using their 16nm FinFET process node, a representative example being the

integrated circuit devices manufactured for Apple for resale as the Apple A9.

       82.     Defendants have been and are engaged in one or more of these direct infringing

activities related to their integrated circuit devices having transistors and related structures

manufactured using their 20nm process node, a representative example being the integrated circuit

devices manufactured for Qualcomm for resale as the MDM9235M LTE modem.

       83.     Defendants have been and are engaged in one or more of these direct infringing

activities related to their integrated circuit devices having transistors and related structures

manufactured using their 28nm process node, a representative example being the integrated circuit

devices manufactured for Qualcomm as the MDM9215M LTE Advanced modem.

       84.     Defendants have been and are engaged in one or more of these direct infringing

activities related to their integrated circuit devices having transistors and related structures




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manufactured using their 40nm process node, a representative example being the integrated circuit

devices manufactured for Altera Strati as the Altera Stratix IV GX FPGA.

       85.     On information and belief, integrated circuit devices made using any of the 16nm,

20nm, 28nm, and/or 40nm process nodes infringe at least claims 1-11, 16-20, 22, 24, and 25 of the

’861 Patent. Such infringing products are referred to hereinafter as the “’861 Accused Products.”

       86.     Defendants, directly and/or through its subsidiaries, affiliates, agents, and/or

business partners, have committed and continue to commit acts of indirect infringement, including

at least claims 1-11, 16-20, 22, 24, and 25 of the ’861 Patent pursuant to 35 U.S.C. §§ 271(b) and

271(c) by actively inducing or contributing to the acts of direct infringement performed by others

in the United States, the State of Texas, and the Western District of Texas.

       87.     Defendants have actual notice of the ’861 Patent and the infringement alleged

herein at least as early as May 27, 2018.

       88.     On information and belief, Defendants have numerous lawyers and other active

agents of Defendants and of its owned and controlled subsidiaries who regularly review patents

and published patent applications relevant to technology in the fields of the Patents-in-Suit,

specifically including patents directed to semiconductor devices issued to competitors such as

Sharp, the original assignee of the ’861 Patent.

       89.     On information and belief, the Defendants themselves have been issued over 30,000

patents worldwide held in the name of one of the Defendants or a related entity, many of which

are patents prosecuted in the USPTO in the same technology area as the ’861 Patent, giving

Defendants intimate knowledge of the art in fields relevant to this civil action. The timing,

circumstances and extent of Defendants obtaining actual knowledge of the ’861 Patent prior to the

commencement of this lawsuit will be confirmed during discovery.




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       90.     Upon gaining knowledge of the ’861 Patent, it was, or became, apparent to

Defendants that the manufacture, sale, importing, offer for sale, and use of the ’861 Accused

Products results in infringement of the ’861 Patent. On information and belief, Defendants have

engaged and will continue to engage in activities constituting inducement of infringement,

notwithstanding their knowledge, or willful blindness thereto, that the activities they induce result

in infringement of the ’861 Patent.

       91.     The ’861 Accused Products are intended for integration into products known to be

sold widely in the United States. Defendants make integrated circuit devices that embody the

inventions claimed in the ’861 Patent, which devices infringe when they are imported into, or sold,

used, or offered for sale in the United States.

       92.     Defendants indirectly infringe by inducing customers (including fabless design

companies) and other downstream parties (such as makers of mobile devices and other devices) to

import products that incorporate integrated circuit devices embodying inventions claimed in the

’861 Patent, or to sell or use such products, or offer them for sale, in the United States.

       93.     For example, Defendants induce fabless design companies, importers, resellers, and

others who purchase or otherwise obtain devices manufactured at Defendants’ overseas facilities

to import devices embodying inventions recited in claims of the ’861 Patent, or to sell or use such

devices, or offer them for sale in the United States without authority.

       94.     Defendants encourage customers, resellers, or others to import into the United

States and sell and use in the United States the ’861 Accused Products with knowledge and the

specific intent to cause the acts of direct infringement performed by these third parties.




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         95.   On information and belief, after Defendants obtained knowledge of the ’861 Patent,

the ’861 Accused Products have been and will continue to be imported into the United States and

sold in large volumes by themselves and by others, such as customers, distributors, and resellers.

         96.   Defendants work closely with their customers in the process of finalizing circuit

designs and planning for the preparation of masks to be used in the manufacturing process, so that

these aspects of the manufacturing process are optimized for Defendants’ process technologies and

equipment. Defendants also offer their customers outsourced semiconductor testing/analysis,

prototyping, mask services, and technical support services.

         97.   Defendants are aware that the ’861 Accused Products are integral components of

the products incorporating them, that the infringing integrated circuits are built into the products

and cannot be removed or disabled by a purchaser of the products containing the infringing

integrated circuit devices, such that Defendants’ customers will infringe one or more claims of the

’861 Patent by incorporating such integrated circuit devices in other products, and that subsequent

importation, sale and use of such products in the United States would be a direct infringement of

the ’861 Patent. Therefore, Defendants are aware that their customers will infringe one or more

claims of the ’861 Patent by selling, offering for sale, importing, and/or using the products supplied

by Defendants.

         98.   Defendants directly benefit from and actively and knowingly encourage

customers’, resellers’, and users’ importation of these products into the United States and sale and

use within the United States. Defendants actively encourage customers, resellers, and downstream

users to import, use, and sell in the United States the ’861 Accused Products that they manufacture

and supply, including through advertising, marketing, and sales activities directed at United States

sales.




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       99.      On information and belief, Defendants are aware of the size and importance of the

United States market for customers of their products, and distribute or supply these products

intended for importation, use, and sale in the United States. Defendants routinely market the ’861

Accused Products to third parties for inclusion in products that are sold to customers in the United

States. Defendant TSMC North America, Inc. provides a direct sales outlet for these products in

the United States. Defendants’ marketing efforts show that they have specifically intended to and

have induced direct infringement in the United States.

       100.     Defendants have engaged and will continue to engage in additional activities to

specifically target the United States market for the ’861 Accused Products and actively induce

manufacturers, importers, resellers, customers, and end users to directly infringe one or more

claims of the ’861 Patent in the United States.

       101.     For example, Defendants have showcased their semiconductor manufacturing

capabilities and process technologies at least through written materials distributed in the United

States and through the www.tsmc.com website in an effort to showcase their process technology,

manufacturing, testing, and market applications, and to encourage customers to engage Defendants

to produce integrated circuits for inclusion in the customers’ devices and products. See, e.g.,

https://www.tsmc.com/english/dedicatedFoundry/technology/logic.htm (last accessed December

6, 2019).

       102.     These materials target fabless design companies and integrated semiconductor

device manufacturers and generally companies that make, use, offer to sell, sell, or import in the

United States products that use integrated circuit devices such as those made by Defendants.

Defendants derive significant revenue by selling the ’861 Accused Products to third parties who

directly infringe the ’861 Patent in the United States.




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          103.   Defendants’ extensive sales and marketing efforts, sales volume, and partnerships

all evidence their intent to induce companies to infringe one or more claims of the ’861 Patent by

using, offering to sell, selling, or importing products that incorporate the ’861 Accused Products

in the United States. Defendants have had specific intent to induce infringement or have been

willfully blind to the direct infringement they are inducing.

          104.   On information and belief, Defendants have engaged and will continue to engage

in activities constituting contributory infringement of the ’861 Patent, including at least claims 1-

11, 16-20, 22, 24, and 25 pursuant to 35 U.S.C. § 271(c).

          105.   Defendants contributorily infringe with knowledge that the ’861 Accused Products,

or the use thereof, infringe the ’861 Patent. Defendants knowingly and intentionally contributed to

the direct infringement of the ’861 Patent by others by supplying these integrated circuit devices

that embody a material part of the claimed invention of the ’861 Patent, which are known by the

Defendants to be specially made or adapted for use in an infringing manner. For example, and

without limitation, the ’861 Accused Products are used in various end products, such as computers,

networking gear, and mobile devices.

          106.   The ’861 Accused Products are not staple articles or commodities of commerce

suitable for non-infringing use and are especially made for or adapted for use in infringing the ’861

Patent.

          107.   There are no substantial uses of the ’861 Accused Products that do not infringe the

’861 Patent.

          108.   By contributing a material part of the infringing computing products sold, offered

for sale, imported, and used by their customers, resellers, and users, Defendants have been and are

now indirectly infringing the ’861 Patent under 35 U.S.C. § 271(c).




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       109.    Defendants’ direct and indirect infringement of the ’861 Patent has injured Katana,

and Katana is entitled to recover damages adequate to compensate for such infringement pursuant

to 35 U.S.C. § 284. Unless they cease their infringing activities, Defendants will continue to injure

Katana by infringing the ’861 Patent.

       110.    On information and belief, Defendants acted egregiously and with willful

misconduct in that their actions constituted direct or indirect infringement of a valid patent, and

this was either known or so obvious that Defendants should have known about it. Defendants

continue to infringe the ’861 Patent by making, using, selling, offering for sale, and importing in

the United States the ’861 Accused Products, and to induce the direct infringement of others

performing these acts, or they have acted at least in reckless disregard of Katana’s patent rights.

       111.    On information and belief, Defendants will continue their infringement

notwithstanding actual knowledge of the ’861 Patent and without a good faith basis to believe that

their activities do not infringe any valid claim of the ’861 Patent. All infringement of the ’861

Patent following Defendants’ knowledge of the ’861 Patent is willful, and Katana is entitled to

treble damages and attorneys’ fees and costs incurred in this action under 35 U.S.C. §§ 284 and

285.

       112.    Katana has incurred and will continue to incur substantial damages, including

monetary damages.

       113.    Katana has been and continues to be irreparably harmed by Defendants’

infringement of the ’861 Patent.

       114.    Therefore, Katana is entitled to an injunction, actual and/or compensatory damages,

reasonable royalties, pre-judgment and post-judgment interest, enhanced damages, and costs.




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                   COUNT II – INFRINGEMENT OF THE ’212 PATENT

       115.    Katana hereby realleges paragraphs 1 through 114 as though fully set forth herein.

       116.    Defendants directly and/or through its subsidiaries, affiliates, agents, and/or

business partners, have in the past and continue to directly infringe at least claims 4, 6, and 8 of

the ’212 Patent pursuant to 35 U.S.C. §§ 271(a) by making, using, selling, or offering to sell,

and/or importing integrated circuits devices that embody the inventions claimed in the ’212 Patent,

within the United States and this District.

       117.    On information and belief, the accused integrated circuit devices include a

semiconductor device comprising a gate insulating film and a gate electrode stacked in this order

on a substrate or well region of first conductive type, sidewall insulating films disposed on side

surfaces of the gate electrode, a channel region formed in the semiconductor substrate or well

region beneath the gate electrode, and source/drain regions of second conductive type elevated to

above the semiconductor substrate or well region from both sides of the channel region, the

source/drain regions being electrically isolated from the gate electrode by the gate insulating film

and the sidewall insulating films, characterized in that: the semiconductor substrate or well region

has diffusion regions of the first conductive type formed between the source/drain regions and the

channel region, the diffusion regions having an impurity concentration higher than that of the

semiconductor substrate or well region.

       118.    Defendants have been and are engaged in one or more of these direct infringing

activities related to their integrated circuit devices having transistors and related structures

manufactured using their 20nm process node, a representative example being the integrated circuit

devices manufactured for Qualcomm for resale as the MDM9235M LTE modem.

       119.    Defendants have been and are engaged in one or more of these direct infringing

activities related to their integrated circuit devices having transistors and related structures


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manufactured using their 28nm process node, a representative example being the integrated circuit

devices manufactured for Qualcomm as the MDM9215M LTE Advanced modem.

       120.    On information and belief, integrated circuit devices made using any of the 20nm

and/or 28nm process nodes infringe at least claims 4, 6, and 8 of the ’212 Patent. Such infringing

products are referred to hereinafter as the “’212 Accused Products.”

       121.    Defendants, directly and/or through its subsidiaries, affiliates, agents, and/or

business partners, have committed and continue to commit acts of indirect infringement, including

at least claims 4, 6, and 8 of the ’212 Patent pursuant to 35 U.S.C. §§ 271(b) and 271(c) by actively

inducing or contributing to the acts of direct infringement performed by others in the United States,

the State of Texas, and the Western District of Texas.

       122.    Defendants have actual notice of the ‘212 Patent and the infringement alleged

herein at least as early as May 27, 2018.

       123.    On information and belief, Defendants have numerous lawyers and other active

agents of Defendants and of its owned and controlled subsidiaries who regularly review patents

and published patent applications relevant to technology in the fields of the Patents-in-Suit,

specifically including patents directed to semiconductor devices issued to competitors such as

Sharp, the original assignee of the ’212 Patent.

       124.    On information and belief, the Defendants themselves have been issued over 30,000

patents worldwide held in the name of one of the Defendants or a related entity, many of which

are patents prosecuted in the USPTO in the same technology area as the ’212 Patent, giving

Defendants intimate knowledge of the art in fields relevant to this civil action. The timing,

circumstances, and extent of Defendants obtaining actual knowledge of the ’212 Patent prior to

the commencement of this lawsuit will be confirmed during discovery.




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       125.    Upon gaining knowledge of the ’212 Patent, it was, or became, apparent to

Defendants that the manufacture, sale, importing, offer for sale, and use of the ’212 Accused

Products results in infringement of the ’212 Patent. On information and belief, Defendants have

engaged and will continue to engage in activities constituting inducement of infringement,

notwithstanding their knowledge, or willful blindness thereto, that the activities they induce result

in infringement of the ’212 Patent.

       126.    The ’212 Accused Products are intended for integration into products known to be

sold widely in the United States. Defendants make integrated circuit devices that embody the

inventions claimed in the ’212 Patent, which devices infringe when they are imported into, or sold,

used, or offered for sale in the United States.

       127.    Defendants indirectly infringe by inducing customers (including fabless design

companies) and other downstream parties (such as makers of mobile devices and other devices) to

import products that incorporate integrated circuit devices embodying inventions claimed in the

’861 Patent, or to sell or use such products, or offer them for sale, in the United States.

       128.    For example, Defendants induce fabless design companies, importers, resellers, and

others who purchase or otherwise obtain devices manufactured at Defendants’ overseas facilities

to import devices embodying inventions recited in claims of the ’212 Patent, or to sell or use such

devices, or offer them for sale in the United States without authority.

       129.    Defendants encourage customers, resellers, or others to import into the United

States and sell and use in the United States the ’212 Accused Products with knowledge and the

specific intent to cause the acts of direct infringement performed by these third parties.




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         130.   On information and belief, after Defendants obtained knowledge of the ’212 Patent,

the ’212 Accused Products have been and will continue to be imported into the United States and

sold in large volumes by themselves and by others, such as customers, distributors, and resellers.

         131.   Defendants work closely with their customers in the process of finalizing circuit

designs and planning for the preparation of masks to be used in the manufacturing process, so that

these aspects of the manufacturing process are optimized for Defendants’ process technologies and

equipment. Defendants also offer their customers outsourced semiconductor testing/analysis,

prototyping, mask services, and technical support services.

         132.   Defendants are aware that the ’212 Accused Products are integral components of

the products incorporating them, that the infringing integrated circuits are built into the products

and cannot be removed or disabled by a purchaser of the products containing the infringing

integrated circuit devices, such that Defendants’ customers will infringe one or more claims of the

’212 Patent by incorporating such integrated circuit devices in other products, and that subsequent

importation, sale and use of such products in the United States would be a direct infringement of

the ’212 Patent. Therefore, Defendants are aware that their customers will infringe one or more

claims of the ’212 Patent by selling, offering for sale, importing, and/or using the products supplied

by Defendants.

         133.   Defendants directly benefit from and actively and knowingly encourage

customers’, resellers’, and users’ importation of these products into the United States and sale and

use within the United States. Defendants actively encourage customers, resellers, and downstream

users to import, use, and sell in the United States the ’212 Accused Products that they manufacture

and supply, including through advertising, marketing, and sales activities directed at United States

sales.




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       134.     On information and belief, Defendants are aware of the size and importance of the

United States market for customers of their products, and distribute or supply these products

intended for importation, use, and sale in the United States. Defendants routinely market the ’212

Accused Products to third parties for inclusion in products that are sold to customers in the United

States. Defendant TSMC North Americas, Inc. provides a direct sales outlet for these products in

the United States. Defendants’ marketing efforts show that they have specifically intended to and

have induced direct infringement in the United States.

       135.     Defendants have engaged and will continue to engage in additional activities to

specifically target the United States market for the ’212 Accused Products and actively induce

manufacturers, importers, resellers, customers, and end users to directly infringe one or more

claims of the ’212 Patent in the United States.

       136.     For example, Defendants have showcased their semiconductor manufacturing

capabilities and process technologies at least through written materials distributed in the United

States and through the www.tsmc.com website in an effort to showcase their process technology,

manufacturing, testing, and market applications, and to encourage customers to engage Defendants

to produce integrated circuits for inclusion in the customers’ devices and products. See, e.g.,

https://www.tsmc.com/english/dedicatedFoundry/technology/logic.htm (last accessed December

6, 2019).

       137.     These materials target fabless design companies and integrated semiconductor

device manufacturers and generally companies that make, use, offer to sell, sell, or import in the

United States products that use integrated circuit devices such as those made by Defendants.

Defendants derive significant revenue by selling the ’212 Accused Products to third parties who

directly infringe the ’212 Patent in the United States.




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          138.   Defendants’ extensive sales and marketing efforts, sales volume, and partnerships

all evidence their intent to induce companies to infringe one or more claims of the ’212 Patent by

using, offering to sell, selling, or importing products that incorporate the ’212 Accused Products

in the United States. Defendants have had specific intent to induce infringement or have been

willfully blind to the direct infringement they are inducing.

          139.   On information and belief, Defendants have engaged and will continue to engage

in activities constituting contributory infringement of the ’212 Patent, including at least claims 4,

6, and 8 pursuant to 35 U.S.C. § 271(c).

          140.   Defendants contributorily infringe with knowledge that the ’212 Accused Products,

or the use thereof, infringe the ’212 Patent. Defendants knowingly and intentionally contributed to

the direct infringement of the ’212 Patent by others by supplying these integrated circuit devices

that embody a material part of the claimed invention of the ’212 Patent, which are known by the

Defendants to be specially made or adapted for use in an infringing manner. For example, and

without limitation, the ’212 Accused Products are used in various end products, such as computers,

networking gear, and mobile devices.

          141.   The ’212 Accused Products are not staple articles or commodities of commerce

suitable for non-infringing use and are especially made for or adapted for use in infringing the ’212

Patent.

          142.   There are no substantial uses of the ’212 Accused Products that do not infringe the

’212 Patent.

          143.   By contributing a material part of the infringing computing products sold, offered

for sale, imported, and used by their customers, resellers, and users, Defendants have been and are

now indirectly infringing the ’212 Patent under 35 U.S.C. § 271(c).




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       144.    Defendants’ direct and indirect infringement of the ’212 Patent has injured Katana,

and Katana is entitled to recover damages adequate to compensate for such infringement pursuant

to 35 U.S.C. § 284. Unless they cease their infringing activities, Defendants will continue to injure

Katana by infringing the ’212 Patent.

       145.    On information and belief, Defendants acted egregiously and with willful

misconduct in that their actions constituted direct or indirect infringement of a valid patent, and

this was either known or so obvious that Defendants should have known about it. Defendants

continue to infringe the ’212 Patent by making, using, selling, offering for sale, and importing in

the United States the ’212 Accused Products, and to induce the direct infringement of others

performing these acts, or they have acted at least in reckless disregard of Katana’s patent rights.

       146.    On information and belief, Defendants will continue their infringement

notwithstanding actual knowledge of the ’212 Patent and without a good faith basis to believe that

their activities do not infringe any valid claim of the ’212 Patent. All infringement of the ’212

Patent following Defendants’ knowledge of the ’212 Patent is willful, and Katana is entitled to

treble damages and attorneys’ fees and costs incurred in this action under 35 U.S.C. §§ 284 and

285.

       147.    Katana has incurred and will continue to incur substantial damages, including

monetary damages.

       148.    Katana has been and continues to be irreparably harmed by Defendants’

infringement of the ’212 Patent.

       149.    Therefore, Katana is entitled to an injunction, actual and/or compensatory damages,

reasonable royalties, pre-judgment and post-judgment interest, enhanced damages, and costs.




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                    COUNT III – INFRINGMENT OF THE ’002 PATENT

        150.    Katana hereby realleges paragraphs 1 through 149 as though fully set forth herein.

        151.    Defendants directly and/or through its subsidiaries, affiliates, agents, and/or

business partners, have in the past and continue to directly infringe at least claims 1-3, 7-9, 13, and

14 of the ’002 Patent pursuant to 35 U.S.C. §§ 271(a) by making, using, selling, or offering to sell,

and/or importing integrated circuits devices that embody the inventions claimed in the ’002 Patent,

within the United States and this District.

        152.    On information and belief, the accused integrated circuit devices include a

semiconductor device which comprises: an insulative substrate having a layer of interconnection

patterns formed on a chip-side surface thereof and external terminals formed on a surface thereof

opposite from the chip-side surface; and a plurality of semiconductor chips stacked on the chip-

side surface of the insulative substrate and each electrically connected to corresponding

interconnection patterns; wherein, among the plurality of semiconductor chips, a semiconductor

chip having the largest plan surface area has the greatest thickness.

        153.    On information and belief, the accused integrated circuit devices include a

semiconductor device which comprises: an insulative substrate having a layer of interconnection

patterns formed on a chip-side surface thereof and external terminals formed on a surface thereof

opposite from the chip-side surface; and a plurality of semiconductor chips stacked on the chip-

side surface of the insulative substrate and each electrically connected to corresponding

interconnection patterns; wherein, a first of said semiconductor chips has a plan surface area larger

than a plan surface area of a second of said plurality of semiconductor chips, said first

semiconductor chip having a thickness greater than said second semiconductor chip.

        154.    Defendants have been and are engaged in one or more of these direct infringing

activities related to their integrated circuit devices manufactured, at least in part, via its InFO wafer


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level packaging technology, a representative example being the integrated circuit devices

manufactured for Apple for resale as the Apple A10 and Apple A11.

       155.    On information and belief, integrated circuit devices made using the InFO wafer

level packaging technology infringe at least claims 1-3, 7-9, 13, and 14 of the ’002 Patent. Such

infringing products are referred to hereinafter as the “’002 Accused Products.”

       156.    Defendants, directly and/or through its subsidiaries, affiliates, agents, and/or

business partners, have committed and continue to commit acts of indirect infringement, including

at least claims 1-3, 7-9, 13, and 14 of the ’002 Patent pursuant to 35 U.S.C. §§ 271(b) and 271(c)

by actively inducing or contributing to the acts of direct infringement performed by others in the

United States, the State of Texas, and the Western District of Texas.

       157.    Defendants have actual notice of the ‘002 Patent and the infringement alleged

herein at least as early as August 22, 2018.

       158.    On information and belief, Defendants have numerous lawyers and other active

agents of Defendants and of its owned and controlled subsidiaries who regularly review patents

and published patent applications relevant to technology in the fields of the Patents-in-Suit,

specifically including patents directed to semiconductor devices issued to competitors such as

Sharp, the original assignee of the ’002 Patent.

       159.    On information and belief, the Defendants themselves have been issued over 30,000

patents worldwide held in the name of one of the Defendants or a related entity, many of which

are patents prosecuted in the USPTO in the same technology area as the ’002 Patent, giving

Defendants intimate knowledge of the art in fields relevant to this civil action. The timing,

circumstances and extent of Defendants obtaining actual knowledge of the ’002 Patent prior to the

commencement of this lawsuit will be confirmed during discovery.




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       160.    Upon gaining knowledge of the ’002 Patent, it was, or became, apparent to

Defendants that the manufacture, sale, importing, offer for sale, and use of the ’002 Accused

Products results in infringement of the ’002 Patent. On information and belief, Defendants have

engaged and will continue to engage in activities constituting inducement of infringement,

notwithstanding their knowledge, or willful blindness thereto, that the activities they induce result

in infringement of the ’002 Patent.

       161.    The ’002 Accused Products are intended for integration into products known to be

sold widely in the United States. Defendants make integrated circuit devices that embody the

inventions claimed in the ’002 Patent, which devices infringe when they are imported into, or sold,

used, or offered for sale in the United States.

       162.    Defendants indirectly infringe by inducing customers (including fabless design

companies) and other downstream parties (such as makers of mobile devices and other devices) to

import products that incorporate integrated circuit devices embodying inventions claimed in the

’002 Patent, or to sell or use such products, or offer them for sale, in the United States.

       163.    For example, Defendants induce fabless design companies, importers, resellers, and

others who purchase or otherwise obtain devices manufactured at Defendants’ overseas facilities

to import devices embodying inventions recited in claims of the ’002 Patent, or to sell or use such

devices, or offer them for sale in the United States without authority.

       164.    Defendants encourage customers, resellers, or others to import into the United

States and sell and use in the United States the ’002 Accused Products with knowledge and the

specific intent to cause the acts of direct infringement performed by these third parties.




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         165.   On information and belief, after Defendants obtained knowledge of the ’002 Patent,

the ’002 Accused Products have been and will continue to be imported into the United States and

sold in large volumes by themselves and by others, such as customers, distributors, and resellers.

         166.   Defendants work closely with their customers in the process of finalizing circuit

designs and planning for the preparation of masks to be used in the manufacturing process, so that

these aspects of the manufacturing process are optimized for Defendants’ process technologies and

equipment. Defendants also offer their customers outsourced semiconductor testing/analysis,

prototyping, mask services, and technical support services.

         167.   Defendants are aware that the ’002 Accused Products are integral components of

the products incorporating them, that the infringing integrated circuits are built into the products

and cannot be removed or disabled by a purchaser of the products containing the infringing

integrated circuit devices, such that Defendants’ customers will infringe one or more claims of the

’002 Patent by incorporating such integrated circuit devices in other products, and that subsequent

importation, sale and use of such products in the United States would be a direct infringement of

the ’002 Patent. Therefore, Defendants are aware that their customers will infringe one or more

claims of the ’002 Patent by selling, offering for sale, importing, and/or using the products supplied

by Defendants.

         168.   Defendants directly benefit from and actively and knowingly encourage

customers’, resellers’, and users’ importation of these products into the United States and sale and

use within the United States. Defendants actively encourage customers, resellers, and downstream

users to import, use, and sell in the United States the ’002 Accused Products that they manufacture

and supply, including through advertising, marketing, and sales activities directed at United States

sales.




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         169.   On information and belief, Defendants are aware of the size and importance of the

United States market for customers of their products, and also distribute or supply these products

intended for importation, use, and sale in the United States. Defendants routinely market the ’002

Accused Products to third parties for inclusion in products that are sold to customers in the United

States. Defendant TSMC North America, Inc. provides a direct sales outlet for these products in

the United States. Defendants’ marketing efforts show that they have specifically intended to and

have induced direct infringement in the United States.

         170.   Defendants have engaged and will continue to engage in additional activities to

specifically target the United States market for the ’002 Accused Products and actively induce

manufacturers, importers, resellers, customers, and end users to directly infringe one or more

claims of the ’002 Patent in the United States.

         171.   For example, Defendants have showcased their semiconductor manufacturing

capabilities and process technologies at least through written materials distributed in the United

States and through the www.tsmcs.com website in an effort to showcase their process technology,

manufacturing, testing, and market applications, and to encourage customers to engage Defendants

to produce integrated circuits for inclusion in the customers’ devices and products. See, e.g.,

https://www.tsmc.com/english/dedicatedFoundry/services/info.htm (last accessed December 6,

2019).

         172.   These materials target fabless design companies and integrated semiconductor

device manufacturers and generally companies that make, use, offer to sell, sell, or import in the

United States products that use integrated circuit devices such as those made by Defendants.

Defendants derive significant revenue by selling the ’002 Accused Products to third parties who

directly infringe the ’002 Patent in the United States.




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          173.   Defendants’ extensive sales and marketing efforts, sales volume, and partnerships

all evidence their intent to induce companies to infringe one or more claims of the ’002 Patent by

using, offering to sell, selling, or importing products that incorporate the ’002 Accused Products

in the United States. Defendants have had specific intent to induce infringement or have been

willfully blind to the direct infringement they are inducing.

          174.   On information and belief, Defendants have engaged and will continue to engage

in activities constituting contributory infringement of the ’002 Patent, including at least claims 1-

3, 7-9, 13, and 14 pursuant to 35 U.S.C. § 271(c).

          175.   Defendants contributorily infringe with knowledge that the ’002 Accused Products,

or the use thereof, infringe the ’002 Patent. Defendants knowingly and intentionally contributed to

the direct infringement of the ’002 Patent by others by supplying these integrated circuit devices

that embody a material part of the claimed invention of the ’002 Patent, which are known by the

Defendants to be specially made or adapted for use in an infringing manner. For example, and

without limitation, the ’002 Accused Products are used in various end products, such as computers,

networking gear, and mobile devices.

          176.   The ’002 Accused Products are not staple articles or commodities of commerce

suitable for non-infringing use and are especially made for or adapted for use in infringing the ’002

Patent.

          177.   There are no substantial uses of the ’002 Accused Products that do not infringe the

’002 Patent.

          178.   By contributing a material part of the infringing computing products sold, offered

for sale, imported, and used by their customers, resellers, and users, Defendants have been and are

now indirectly infringing the ’002 Patent under 35 U.S.C. § 271(c).




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       179.    Defendants’ direct and indirect infringement of the ’002 Patent has injured Katana,

and Katana is entitled to recover damages adequate to compensate for such infringement pursuant

to 35 U.S.C. § 284. Unless they cease their infringing activities, Defendants will continue to injure

Katana by infringing the ’002 Patent.

       180.    On information and belief, Defendants acted egregiously and with willful

misconduct in that their actions constituted direct or indirect infringement of a valid patent, and

this was either known or so obvious that Defendants should have known about it. Defendants

continue to infringe the ’002 Patent by making, using, selling, offering for sale, and importing in

the United States the ’002 Accused Products, and to induce the direct infringement of others

performing these acts, or they have acted at least in reckless disregard of Katana’s patent rights.

       181.    On information and belief, Defendants will continue their infringement

notwithstanding actual knowledge of the ’002 Patent and without a good faith basis to believe that

their activities do not infringe any valid claim of the ’002Patent. All infringement of the ’002

Patent following Defendants’ knowledge of the ’002 Patent is willful, and Katana is entitled to

treble damages and attorneys’ fees and costs incurred in this action under 35 U.S.C. §§ 284 and

285.

       182.    Katana has incurred and will continue to incur substantial damages, including

monetary damages.

       183.    Katana has been and continues to be irreparably harmed by Defendants’

infringement of the ’002 Patent.

       184.    Therefore, Katana is entitled to an injunction, actual and/or compensatory damages,

reasonable royalties, pre-judgment and post-judgment interest, enhanced damages, and costs.




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                   COUNT IV – INFRINGEMENT OF THE ’879 PATENT

        185.    Katana hereby realleges paragraphs 1 through 184 as though fully set forth herein.

        186.    Defendants directly and/or through its subsidiaries, affiliates, agents, and/or

business partners, have in the past and continue to directly infringe at least claims 1, 2, and 15 of

the ’879 Patent pursuant to 35 U.S.C. §§ 271(a) and 271(g) by making, using, selling, or offering

to sell, and/or importing integrated circuits devices made by practicing and by performing

processes that practice the inventions claimed in the ’879 Patent, within the United States and this

District.

        187.    On information and belief, the method of manufacturing the accused integrated

circuit devices comprises of: (a) forming a first adhesion layer on a back surface of a first wafer

on which no circuit is formed, a circuit being formed on a front surface of the first wafer; (b)

producing separate first semiconductor chips from said first wafer by dicing; (c) mounting said

first semiconductor chip on a wiring layer with its back surface facing said wiring layer; (d)

forming a second adhesion layer on a back surface of a second wafer on which no circuit is formed,

a circuit being formed on a front surface of the first wafer; (e) producing separate second

semiconductor chips from said second wafer by dicing; and (f) mounting said second

semiconductor chip on said first semiconductor chip with its back surface facing said first

semiconductor chip.

        188.    On information and belief, the method of manufacturing the accused integrated

circuit devices comprises of: (a) forming an insulating layer and a metal bump on a wiring layer;

(b) mounting a first semiconductor chip on said wiring layer with its circuit-formed surface facing

said wiring layer; (c) forming an adhesion layer on a back surface of a wafer on which no circuit

is formed, whereby a circuit is formed on a front surface of the wafer; (d) producing separate

second semiconductor chips from the wafer by dicing; (e) mounting said second semiconductor


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chip on said first semiconductor chip with the back surface of the second semiconductor chip

facing said first semiconductor chip; (f) wire-bonding an electrode section of said second

semiconductor chip to an electrode section of said wiring layer with a wire; and (g) sealing said

first and second semiconductor chips and said wire.

        189.    On information and belief, the method of manufacturing the accused integrated

circuit devices comprises of: (a) forming a first adhesion layer on a back surface of a first wafer,

no circuit being formed on the back surface of the first wafer; (b) producing separate first

semiconductor chips from said first wafer by dicing; (c) mounting at least one of said first

semiconductor chips on a wiring layer with the back surface of the at least one first semiconductor

chip facing said wiring layer; (d) forming a second adhesion layer on a back surface of a second

wafer, no circuit being formed on the back surface of the second wafer; (e) producing separate

second semiconductor chips from said second wafer by dicing; and (f) mounting at least one of

said second semiconductor chips on said at least one of said first semiconductor chip with the back

surface of the at least one second semiconductor chip facing said at least one of said first

semiconductor chips.

        190.    Defendants have been and are engaged in one or more of these direct infringing

activities related to their integrated circuit devices manufactured, at least in part, via its InFO wafer

level packaging technology, a representative example being the integrated circuit devices

manufactured for Apple for resale as the Apple A11.

        191.    On information and belief, integrated circuit devices made using the InFO wafer

level packaging technology infringe at least claims 1, 2, and 15 of the ’879 Patent. Such infringing

products are referred to hereinafter as the “’879 Accused Products.”




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       192.    Defendants, directly and/or through its subsidiaries, affiliates, agents, and/or

business partners, have committed and continue to commit acts of indirect infringement, including

at least claims 1, 2, and 15 of the ’879 Patent pursuant to 35 U.S.C. §§ 271(b) and 271(c) by

actively inducing or contributing to the acts of direct infringement performed by others in the

United States, the State of Texas, and the Western District of Texas.

       193.    Defendants have actual notice of the ‘879 Patent and the infringement alleged

herein at least as early as December 30, 2018.

       194.    On information and belief, Defendants have numerous lawyers and other active

agents of Defendants and of its owned and controlled subsidiaries who regularly review patents

and published patent applications relevant to technology in the fields of the Patents-in-Suit,

specifically including patents directed to semiconductor devices issued to competitors such as

Sharp, the original assignee of the ’879 Patent.

       195.    On information and belief, the Defendants themselves have been issued over 30,000

patents worldwide held in the name of one of the Defendants or a related entity, many of which

are patents prosecuted in the USPTO in the same technology area as the ’879 Patent, giving

Defendants intimate knowledge of the art in fields relevant to this civil action. The timing,

circumstances and extent of Defendants obtaining actual knowledge of the ’879 Patent prior to the

commencement of this lawsuit will be confirmed during discovery.

       196.    Upon gaining knowledge of the ’879 Patent, it was, or became, apparent to

Defendants that the manufacture, sale, importing, offer for sale, and use of the ’879 Accused

Products results in infringement of the ’879 Patent. On information and belief, Defendants have

engaged and will continue to engage in activities constituting inducement of infringement,




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notwithstanding their knowledge, or willful blindness thereto, that the activities they induce result

in infringement of the ’879 Patent.

       197.    The ’879 Accused Products are intended for integration into products known to be

sold widely in the United States. Defendants make integrated circuit devices that embody the

inventions claimed in the ’879 Patent, which devices infringe when they are imported into, or sold,

used, or offered for sale in the United States.

       198.    Defendants indirectly infringe by inducing customers (including fabless design

companies) and other downstream parties (such as makers of mobile devices and other devices) to

import products that incorporate integrated circuit devices embodying inventions claimed in the

’879 Patent, or to sell or use such products, or offer them for sale, in the United States.

       199.    For example, Defendants induce fabless design companies, importers, resellers, and

others who purchase or otherwise obtain devices manufactured at Defendants’ overseas facilities

to import devices embodying inventions recited in claims of the ’879 Patent, or to sell or use such

devices, or offer them for sale in the United States without authority.

       200.    Defendants encourage customers, resellers, or others to import into the United

States and sell and use in the United States the ’879 Accused Products with knowledge and the

specific intent to cause the acts of direct infringement performed by these third parties.

       201.    On information and belief, after Defendants obtained knowledge of the ’879 Patent,

the ’879 Accused Products have been and will continue to be imported into the United States and

sold in large volumes by themselves and by others, such as customers, distributors, and resellers.

       202.    Defendants work closely with their customers in the process of finalizing circuit

designs and planning for the preparation of masks to be used in the manufacturing process, so that

these aspects of the manufacturing process are optimized for Defendants’ process technologies and




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equipment. Defendants also offer their customers outsourced semiconductor testing/analysis,

prototyping, mask services, and technical support services.

         203.   Defendants are aware that the ’879 Accused Products are integral components of

the products incorporating them, that the infringing integrated circuits are built into the products

and cannot be removed or disabled by a purchaser of the products containing the infringing

integrated circuit devices, such that Defendants’ customers will infringe one or more claims of the

’879 Patent by incorporating such integrated circuit devices in other products, and that subsequent

importation, sale and use of such products in the United States would be a direct infringement of

the ’879 Patent. Therefore, Defendants are aware that their customers will infringe one or more

claims of the ’879 Patent by selling, offering for sale, importing, and/or using the products supplied

by Defendants.

         204.   Defendants directly benefit from and actively and knowingly encourage

customers’, resellers’, and users’ importation of these products into the United States and sale and

use within the United States. Defendants actively encourage customers, resellers, and downstream

users to import, use, and sell in the United States the ’879 Accused Products that they manufacture

and supply, including through advertising, marketing, and sales activities directed at United States

sales.

         205.   On information and belief, Defendants are aware of the size and importance of the

United States market for customers of their products, and distribute or supply these products

intended for importation, use, and sale in the United States. Defendants routinely market their

infringing the ’879 Accused Products to third parties for inclusion in products that are sold to

customers in the United States. Defendant TSMC North America, Inc. provides a direct sales outlet




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for these products in the United States. Defendants’ marketing efforts show that they have

specifically intended to and have induced direct infringement in the United States.

         206.   Defendants have engaged and will continue to engage in additional activities to

specifically target the United States market for the ’879 Accused Products and actively induce

manufacturers, importers, resellers, customers, and end users to directly infringe one or more

claims of the ’879 Patent in the United States.

         207.   For example, Defendants have showcased their semiconductor manufacturing

capabilities and process technologies at least through written materials distributed in the United

States and through the www.tsmc.com website in an effort to showcase their process technology,

manufacturing, testing, and market applications, and to encourage customers to engage Defendants

to produce integrated circuits for inclusion in the customers’ devices and products. See, e.g.,

https://www.tsmc.com/english/dedicatedFoundry/services/info.htm (last accessed December 6,

2019).

         208.   These materials target fabless design companies and integrated semiconductor

device manufacturers and generally companies that make, use, offer to sell, sell, or import in the

United States products that use integrated circuit devices such as those made by Defendants.

Defendants derive significant revenue by selling the ’879 Accused Products to third parties who

directly infringe the ’879 Patent in the United States.

         209.   Defendants’ extensive sales and marketing efforts, sales volume, and partnerships

all evidence their intent to induce companies to infringe one or more claims of the ’879 Patent by

using, offering to sell, selling, or importing products that incorporate the ’879 Accused Products

in the United States. Defendants have had specific intent to induce infringement or have been

willfully blind to the direct infringement they are inducing.




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          210.   On information and belief, Defendants have engaged and will continue to engage

in activities constituting contributory infringement of the ’879 Patent, including at least claims 1,

2, and 15 pursuant to 35 U.S.C. § 271(c).

          211.   Defendants contributorily infringe with knowledge that the ’879 Accused Products,

or the use thereof, infringe the ’879 Patent. Defendants knowingly and intentionally contributed to

the direct infringement of the ’879 Patent by others by supplying these integrated circuit devices

that embody a material part of the claimed invention of the ’879 Patent, which are known by the

Defendants to be specially made or adapted for use in an infringing manner. For example, and

without limitation, the ’879 Accused Products are used in various end products, such as computers,

networking gear, and mobile devices.

          212.   The ’879 Accused Products are not staple articles or commodities of commerce

suitable for non-infringing use and are especially made for or adapted for use in infringing the ’879

Patent.

          213.   There are no substantial uses of the ’879 Accused Products that do not infringe the

’879 Patent.

          214.   By contributing a material part of the infringing computing products sold, offered

for sale, imported, and used by their customers, resellers, and users, Defendants have been and are

now indirectly infringing the ’879 Patent under 35 U.S.C. § 271(c).

          215.   Defendants’ direct and indirect infringement of the ’879 Patent has injured Katana,

and Katana is entitled to recover damages adequate to compensate for such infringement pursuant

to 35 U.S.C. § 284. Unless they cease their infringing activities, Defendants will continue to injure

Katana by infringing the ’879 Patent.




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       216.    On information and belief, Defendants acted egregiously and with willful

misconduct in that their actions constituted direct or indirect infringement of a valid patent, and

this was either known or so obvious that Defendants should have known about it. Defendants

continue to infringe the ’879 Patent by making, using, selling, offering for sale, and importing in

the United States the ’879 Accused Products, and to induce the direct infringement of others

performing these acts, or they have acted at least in reckless disregard of Katana’s patent rights.

       217.    On information and belief, Defendants will continue their infringement

notwithstanding actual knowledge of the ’879 Patent and without a good faith basis to believe that

their activities do not infringe any valid claim of the ’879 Patent. All infringement of the ’879

Patent following Defendants’ knowledge of the ’879 Patent is willful, and Katana is entitled to

treble damages and attorneys’ fees and costs incurred in this action under 35 U.S.C. §§ 284 and

285.

       218.    Katana has incurred and will continue to incur substantial damages, including

monetary damages.

       219.    Katana has been and continues to be irreparably harmed by Defendants’

infringement of the ’879 Patent.

       220.    Therefore, Katana is entitled to an injunction, actual and/or compensatory damages,

reasonable royalties, pre-judgment and post-judgment interest, enhanced damages, and costs.

                   COUNT V – INFRINGEMENT OF THE ’806 PATENT

       221.    Katana hereby realleges paragraphs 1 through 220 as though fully set forth herein.

Defendants directly and/or through its subsidiaries, affiliates, agents, and/or business partners,

have in the past and continue to directly infringe at least claims 1, 12, 23, and 30 of the ’806 Patent

pursuant to 35 U.S.C. §§ 271(a) and 271(g) by making, using, selling, or offering to sell, and/or




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importing integrated circuits devices made by practicing and by performing processes that practice

the inventions claimed in the ’806 Patent, within the United States and this District.

       222.    On information and belief, the accused integrated circuit devices include a

semiconductor device including a stacked package structure and a chip size package structure,

comprising: an insulating substrate including a wiring layer having electrode sections; a first

semiconductor chip having a first adhesion layer adhered to its back surface where a circuit is not

formed, said first semiconductor chip being mounted on said wiring layer through the first

insulating adhesion layer; and a second semiconductor chip having a second adhesion layer

adhered to its back surface where a circuit is not formed, said second semiconductor chip being

mounted on a circuit-formed front surface of said first semiconductor chip through the second

insulating adhesion layer; each of said first and second semiconductor chips being wire-bonded to

the electrode section with a wire, said first and second semiconductor chips and the wire being

sealed with a resin.

       223.    On information and belief, the accused integrated circuit devices include a

semiconductor device comprising: an insulating substrate including a wiring layer on its surface

and a packaging-use external terminal on its back surface, the wiring layer having an electrode

section, the packaging-use external terminal being electrically connected to said wiring layer

through a via hole; a first semiconductor chip produced by forming a first adhesion layer on a back

surface of a wafer having a desired circuit formed on its front surface and by dicing the wafer, said

first semiconductor chip being mounted on said insulating substrate through the first adhesion

layer; and a second semiconductor chip produced by forming a second adhesion layer on a back

surface of a wafer having a circuit formed on its front surface and by dicing the wafer, said second

semiconductor chip being mounted on a circuit-formed surface of said first semiconductor chip




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through the second adhesion layer; said first and second semiconductor chips being connected to

the electrode section of the wiring layer with a wire, said first and second semiconductor chips and

the wire being sealed with a resin.

         224.   On information and belief, the method of manufacturing the accused integrated

circuit devices comprises of: (a) forming a first insulating adhesion layer on a back surface of a

first wafer having a circuit formed on its front surface; (b) producing separate first semiconductor

chips from said first wafer by dicing; (c) mounting said first semiconductor chip on a wiring layer

with its back surface facing said wiring layer; (d) forming a second insulating adhesion layer on a

back surface of a second wafer having a circuit formed on its front surface; (e) producing separate

second semiconductor chips from said second wafer by dicing; (f) mounting said second

semiconductor chip on said first semiconductor chip with its back surface facing said first

semiconductor chip; (g) wire-bonding said first semiconductor chip to an electrode section of said

wiring layer with a wire; (h) wire-bonding said second semiconductor chip to an electrode section

of said wiring layer with a wire; and (i) sealing said first and second semiconductor chips and the

wires.

         225.   Defendants have been and are engaged in one or more of these direct infringing

activities related to their integrated circuit devices manufactured, at least in part, via its InFO wafer

level packaging technology, a representative example being the integrated circuit devices

manufactured for Apple for resale as the Apple A11.

         226.   On information and belief, integrated circuit devices made using the InFO wafer

level packaging technology infringe at least claims 1, 12, 23, and 30 of the ’806 Patent. Such

infringing products are referred to hereinafter as the “’806 Accused Products.”




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       227.    Defendants, directly and/or through its subsidiaries, affiliates, agents, and/or

business partners, have committed and continue to commit acts of indirect infringement, including

at least claims 1, 12, 23, and 30 of the ’806 Patent pursuant to 35 U.S.C. §§ 271(b) and 271(c) by

actively inducing or contributing to the acts of direct infringement performed by others in the

United States, the State of Texas, and the Western District of Texas.

       228.    Defendants have actual notice of the ’806 Patent and the infringement alleged

herein at least as early as August 22, 2018.

       229.    On information and belief, Defendants have numerous lawyers and other active

agents of Defendants and of its owned and controlled subsidiaries who regularly review patents

and published patent applications relevant to technology in the fields of the Patents-in-Suit,

specifically including patents directed to semiconductor devices issued to competitors such as

Sharp, the original assignee of the ’806 Patent.

       230.    On information and belief, the Defendants themselves have been issued over 30,000

patents worldwide held in the name of one of the Defendants or a related entity, many of which

are patents prosecuted in the USPTO in the same technology area as the ’806 Patent, giving

Defendants intimate knowledge of the art in fields relevant to this civil action. The timing,

circumstances and extent of Defendants obtaining actual knowledge of the ’806 Patent prior to the

commencement of this lawsuit will be confirmed during discovery.

       231.    Upon gaining knowledge of the ’806 Patent, it was, or became, apparent to

Defendants that the manufacture, sale, importing, offer for sale, and use of the ’806 Accused

Products results in infringement of the ’806 Patent. On information and belief, Defendants have

engaged and will continue to engage in activities constituting inducement of infringement,




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notwithstanding their knowledge, or willful blindness thereto, that the activities they induce result

in infringement of the ’806 Patent.

       232.    The ’806 Accused Products are intended for integration into products known to be

sold widely in the United States. Defendants make integrated circuit devices that embody the

inventions claimed in the ’806 Patent, which devices infringe when they are imported into, or sold,

used, or offered for sale in the United States.

       233.    Defendants indirectly infringe by inducing customers (including fabless design

companies) and other downstream parties (such as makers of mobile devices and other devices) to

import products that incorporate integrated circuit devices embodying inventions claimed in the

’806 Patent, or to sell or use such products, or offer them for sale, in the United States.

       234.    For example, Defendants induce fabless design companies, importers, resellers, and

others who purchase or otherwise obtain devices manufactured at Defendants’ overseas facilities

to import devices embodying inventions recited in claims of the ’806 Patent, or to sell or use such

devices, or offer them for sale in the United States without authority.

       235.    Defendants encourage customers, resellers, or others to import into the United

States and sell and use in the United States the ’806 Accused Products with knowledge and the

specific intent to cause the acts of direct infringement performed by these third parties.

       236.    On information and belief, after Defendants obtained knowledge of the ’806 Patent,

the ’806 Accused Products have been and will continue to be imported into the United States and

sold in large volumes by themselves and by others, such as customers, distributors, and resellers.

       237.    Defendants work closely with their customers in the process of finalizing circuit

designs and planning for the preparation of masks to be used in the manufacturing process, so that

these aspects of the manufacturing process are optimized for Defendants’ process technologies and




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equipment. Defendants also offer their customers outsourced semiconductor testing/analysis,

prototyping, mask services, and technical support services.

         238.   Defendants are aware that the ’806 Accused Products are integral components of

the products incorporating them, that the infringing integrated circuits are built into the products

and cannot be removed or disabled by a purchaser of the products containing the infringing

integrated circuit devices, such that Defendants’ customers will infringe one or more claims of the

’806 Patent by incorporating such integrated circuit devices in other products, and that subsequent

importation, sale and use of such products in the United States would be a direct infringement of

the ’806 Patent. Therefore, Defendants are aware that their customers will infringe one or more

claims of the ’806 Patent by selling, offering for sale, importing, and/or using the products supplied

by Defendants.

         239.   Defendants directly benefit from and actively and knowingly encourage

customers’, resellers’, and users’ importation of these products into the United States and sale and

use within the United States. Defendants actively encourage customers, resellers, and downstream

users to import, use, and sell in the United States the ’806 Accused Products that they manufacture

and supply, including through advertising, marketing, and sales activities directed at United States

sales.

         240.   On information and belief, Defendants are aware of the size and importance of the

United States market for customers of their products, and distribute or supply these products

intended for importation, use, and sale in the United States. Defendants routinely market their

infringing the ’806 Accused Products to third parties for inclusion in products that are sold to

customers in the United States. Defendant TSMC North America, Inc. provides a direct sales outlet




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for these products in the United States. Defendants’ marketing efforts show that they have

specifically intended to and have induced direct infringement in the United States.

         241.   Defendants have engaged and will continue to engage in additional activities to

specifically target the United States market for the ’806 Accused Products and actively induce

manufacturers, importers, resellers, customers, and end users to directly infringe one or more

claims of the ’806 Patent in the United States.

         242.   For example, Defendants have showcased their semiconductor manufacturing

capabilities and process technologies at least through written materials distributed in the United

States and through the www.tsmcs.com website in an effort to showcase their process technology,

manufacturing, testing, and market applications, and to encourage customers to engage Defendants

to produce integrated circuits for inclusion in the customers’ devices and products. See, e.g.,

https://www.tsmc.com/english/dedicatedFoundry/services/info.htm (last accessed December 6,

2019).

         243.   These materials target fabless design companies and integrated semiconductor

device manufacturers and generally companies that make, use, offer to sell, sell, or import in the

United States products that use integrated circuit devices such as those made by Defendants.

Defendants derive significant revenue by selling the ’806 Accused Products to third parties who

directly infringe the ’806 Patent in the United States.

         244.   Defendants’ extensive sales and marketing efforts, sales volume, and partnerships

all evidence their intent to induce companies to infringe one or more claims of the ’806 Patent by

using, offering to sell, selling, or importing products that incorporate the ’806 Accused Products

in the United States. Defendants have had specific intent to induce infringement or have been

willfully blind to the direct infringement they are inducing.




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          245.   On information and belief, Defendants have engaged and will continue to engage

in activities constituting contributory infringement of the ’806 Patent, including at least claims 1,

12, 23, and 30 pursuant to 35 U.S.C. § 271(c).

          246.   Defendants contributorily infringe with knowledge that the ’806 Accused Products,

or the use thereof, infringe the ’806 Patent. Defendants knowingly and intentionally contributed to

the direct infringement of the ’806 Patent by others by supplying these integrated circuit devices

that embody a material part of the claimed invention of the ’806 Patent, which are known by the

Defendants to be specially made or adapted for use in an infringing manner. For example, and

without limitation, the ’806 Accused Products are used in various end products, such as computers,

networking gear, and mobile devices.

          247.   The ’806 Accused Products are not staple articles or commodities of commerce

suitable for non-infringing use and are especially made for or adapted for use in infringing the ’806

Patent.

          248.   There are no substantial uses of the ’806 Accused Products that do not infringe the

’806 Patent.

          249.   By contributing a material part of the infringing computing products sold, offered

for sale, imported, and used by their customers, resellers, and users, Defendants have been and are

now indirectly infringing the ’806 Patent under 35 U.S.C. § 271(c).

          250.   Defendants’ direct and indirect infringement of the ’806 Patent has injured Katana,

and Katana is entitled to recover damages adequate to compensate for such infringement pursuant

to 35 U.S.C. § 284. Unless they cease their infringing activities, Defendants will continue to injure

Katana by infringing the ’806 Patent.




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       251.    On information and belief, Defendants acted egregiously and with willful

misconduct in that their actions constituted direct or indirect infringement of a valid patent, and

this was either known or so obvious that Defendants should have known about it. Defendants

continue to infringe the ’806 Patent by making, using, selling, offering for sale, and importing in

the United States the ’806 Accused Products, and to induce the direct infringement of others

performing these acts, or they have acted at least in reckless disregard of Katana’s patent rights.

       252.    On information and belief, Defendants will continue their infringement

notwithstanding actual knowledge of the ’806 Patent and without a good faith basis to believe that

their activities do not infringe any valid claim of the ’806 Patent. All infringement of the ’806

Patent following Defendants’ knowledge of the ’806 Patent is willful, and Katana is entitled to

treble damages and attorneys’ fees and costs incurred in this action under 35 U.S.C. §§ 284 and

285.

       253.    Katana has incurred and will continue to incur substantial damages, including

monetary damages.

       254.    Katana has been and continues to be irreparably harmed by Defendants’

infringement of the ’806 Patent.

       255.    Therefore, Katana is entitled to an injunction, actual and/or compensatory damages,

reasonable royalties, pre-judgment and post-judgment interest, enhanced damages, and costs.

                  COUNT VI – INFRINGEMENT OF THE ’741 PATENT

       256.    Katana hereby realleges paragraphs 1 through 255 as though fully set forth herein.

       257.    Defendants, directly and/or through their subsidiaries, affiliates, agents, and/or

business partners, have in the past and continue to directly infringe at least claims 8-10, 12, 15,

and 16 of the ’741 Patent pursuant to 35 U.S.C. §§ 271(a) and 271(g) by making, using, selling,

or offering to sell, and/or importing integrated circuits devices made by practicing and by


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performing processes that practice the inventions claimed in the ’741 Patent, within the United

States and this District.

        258.    On information and belief, the accused integrated circuit devices include:           a

semiconductor substrate; a gate insulating layer disposed on the semiconductor substrate; a gate

electrode structure disposed on a portion of the gate insulating layer and including at least one

conductive layer; a GPOX layer disposed on the sidewalls of the conductive layer of the gate

electrode structure and on the surface of the gate insulating layer; an insulating layer for preventing

short channel covering the gate electrode structure; spacers disposed on the surface of the

insulating layer, which is disposed on the sidewalls of the gate electrode structure; and a source

region and a drain region disposed in the semiconductor substrate on either side of the gate

electrode structure, wherein each of the source region and the drain region is spaced apart from the

gate electrode structure by the sum of the thicknesses of the insulating layer and the GPOX layer,

and the insulating layer has a thickness of about 50 Å to about 100 Å.

        259.    On information and belief, the method of manufacturing the accused integrated

circuit devices comprises of: forming a gate insulating layer on a semiconductor substrate; forming

a gate electrode structure on a predetermined portion of the gate insulating layer; conformally

forming an insulating layer for preventing short channel to a thickness of about 50 Å to about 100

Å on the surface of the semiconductor substrate where the gate electrode structure is formed; and

forming a source region and a drain region in the semiconductor substrate on sides of the gate

electrode structure.

        260.    On information and belief, the method of manufacturing the accused integrated

circuit devices comprises of: forming a gate insulating layer on a semiconductor substrate; forming

a gate electrode structure on a predetermined portion of the gate insulating layer; forming a GPOX




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layer by thermally oxidizing the surface of the semiconductor substrate including the gate electrode

structure; conformally forming an insulating layer for preventing short channel to a thickness of

about 50 Å to about 100 Å on the surface of the semiconductor substrate where the gate electrode

structure is formed; implanting low-concentration impurity ions into the semiconductor substrate

on sides of the insulating layer disposed on the sidewalls of the gate electrode structure; forming

spacers on the surface of the insulating layer disposed on the sidewalls of the gate electrode

structure; implanting high-concentration impurity ions into the semiconductor substrate on sides

of the spacers; and forming a source region and a drain region by activating the lightly doped

impurity ions and the heavily doped impurity ions.

       261.    Defendants have been and are engaged in one or more of these direct infringing

activities related to their integrated circuit devices having transistors and related structures

manufactured using their 40nm and/or 45nm ULP CMOS process, representative examples being

the integrated circuit devices manufactured for Broadcom as the BCM15900D0KWFBG Touch

Screen Controller, Ambiq Micro as the Apollo2 Microcontroller, NVIDIA as the T33-P-A3

Application Processor, Freescale as the MCIMX6Q5EYM10AC Integrated multimedia

application processor, and MediaTek as the MT6577 Dual Core Application Processor, and for

Sony as the G8232 Rear-Cam ISP.

       262.    On information and belief, integrated circuit devices made using any of the 40nm

or 45nm ULP CMOS processes infringe at least claims 8-10, 12, 15, and 16 of the ’741 Patent.

Such infringing products are referred to hereinafter as the “’741 Accused Products.”

       263.    Defendants, directly and/or through its subsidiaries, affiliates, agents, and/or

business partners, have committed and continue to commit acts of indirect infringement, including

at least claims 8-10, 12, 15, and 16 of the ’741 Patent pursuant to 35 U.S.C. §§ 271(b) and 271(c)




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by actively inducing or contributing to the acts of direct infringement performed by others in the

United States, the State of Texas, and this District.

       264.    Defendants have actual notice of the ’741 Patent and the infringement alleged

herein at least as early as November 5, 2019.

       265.    On information and belief, Defendants have numerous lawyers and other active

agents of Defendants and of its owned and controlled subsidiaries who regularly review patents

and published patent applications relevant to technology in the fields of the Patents-in-Suit,

specifically including patents directed to semiconductor devices issued to competitors such as

Samsung, the original assignee of the ’741 Patent.

       266.    On information and belief, the Defendants themselves have been issued over 30,000

patents worldwide held in the name of one of the Defendants or a related entity, many of which

are patents prosecuted in the USPTO in the same technology area as the ’741 Patent, giving

Defendants intimate knowledge of the art in fields relevant to this civil action. The timing,

circumstances, and extent of Defendants obtaining actual knowledge of the ’741 Patent prior to

the commencement of this lawsuit will be confirmed during discovery.

       267.    Upon gaining knowledge of the ’741 Patent, it was, or became, apparent to

Defendants that the manufacture, sale, importing, offer for sale, and use of the ’741 Accused

Products results in infringement of the ’741 Patent. On information and belief, Defendants have

engaged and will continue to engage in activities constituting inducement of infringement,

notwithstanding their knowledge, or willful blindness thereto, that the activities they induce result

in infringement of the ’741 Patent.

       268.    The ’741 Accused Products are intended for integration into products known to be

sold widely in the United States. Defendants make integrated circuit devices that embody the




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inventions claimed in the ’741 Patent, which devices infringe when they are imported into, or sold,

used, or offered for sale in the United States. Defendants indirectly infringe by inducing customers

(including fabless design companies) and other downstream parties (such as makers of mobile

devices and other devices) to import products that incorporate integrated circuit devices

embodying inventions claimed in the ’741 Patent, or to sell or use such products, or offer them for

sale, in the United States.

       269.    For example, Defendants induce fabless design companies, importers, resellers, and

others who purchase or otherwise obtain devices manufactured at Defendants’ overseas facilities

to import devices embodying inventions recited in claims of the ’741 Patent, or to sell or use such

devices, or offer them for sale in the United States without authority.

       270.    Defendants encourage customers, resellers, or others to import into the United

States and sell and use in the United States the ’741 Accused Products with knowledge and the

specific intent to cause the acts of direct infringement performed by these third parties.

       271.    On information and belief, after Defendants obtained knowledge of the ’741 Patent,

the ’741 Accused Products have been and will continue to be imported into the United States and

sold in large volumes by themselves and by others, such as customers, distributors, and resellers.

       272.    Defendants work closely with their customers in the process of finalizing circuit

designs and planning for the preparation of masks to be used in the manufacturing process, so that

these aspects of the manufacturing process are optimized for Defendants’ process technologies and

equipment. Defendants also offer their customers outsourced semiconductor testing/analysis,

prototyping, mask services, and technical support services.

       273.    Defendants are aware that the ’741 Accused Products are integral components of

the products incorporating them, that the infringing integrated circuits are built into the products




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and cannot be removed or disabled by a purchaser of the products containing the infringing

integrated circuit devices, such that Defendants’ customers will infringe one or more claims of the

’741 Patent by incorporating such integrated circuit devices in other products, and that subsequent

importation, sale and use of such products in the United States would be a direct infringement of

the ’741 Patent. Therefore, Defendants are aware that their customers will infringe one or more

claims of the ’741 Patent by selling, offering for sale, importing, and/or using the products supplied

by Defendants.

         274.   Defendants directly benefit from and actively and knowingly encourage

customers’, resellers’, and users’ importation of these products into the United States and sale and

use within the United States. Defendants actively encourage customers, resellers, and downstream

users to import, use, and sell in the United States the ’741 Accused Products that they manufacture

and supply, including through advertising, marketing, and sales activities directed at United States

sales.

         275.   On information and belief, Defendants are aware of the size and importance of the

United States market for customers of their products, and distribute or supply these products

intended for importation, use, and sale in the United States. Defendants routinely market their

infringing Integrated Circuit Products to third parties for inclusion in products that are sold to

customers in the United States. Defendant TSMC North America, Inc. provides a direct sales outlet

for these products in the United States. Defendants’ marketing efforts show that they have

specifically intended to and have induced direct infringement in the United States.

         276.   Defendants have engaged and will continue to engage in additional activities to

specifically target the United States market for the ’741 Accused Products and actively induce




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manufacturers, importers, resellers, customers, and end users to directly infringe one or more

claims of the ’741 Patent in the United States.

       277.     For example, Defendants have showcased their semiconductor manufacturing

capabilities and process technologies at least through written materials distributed in the United

States and through the www.tsmc.com website in an effort to showcase their process technology,

manufacturing, testing, and market applications, and to encourage customers to engage Defendants

to produce integrated circuits for inclusion in the customers’ devices and products. See, e.g.,

https://www.tsmc.com/english/dedicatedFoundry/technology/logic.htm (last accessed December

6, 2019).

       278.     These materials target fabless design companies and integrated semiconductor

device manufacturers and generally companies that make, use, offer to sell, sell, or import in the

United States products that use integrated circuit devices such as those made by Defendants.

Defendants derive significant revenue by selling the ’741 Accused Products to third parties who

directly infringe the ’741 Patent in the United States.

       279.     Defendants’ extensive sales and marketing efforts, sales volume, and partnerships

all evidence their intent to induce companies to infringe one or more claims of the ’741 patent by

using, offering to sell, selling, or importing products that incorporate the ’741 Accused Products

in the United States. Defendants have had specific intent to induce infringement or have been

willfully blind to the direct infringement they are inducing.

       280.     On information and belief, Defendants have engaged and will continue to engage

in activities constituting contributory infringement of the ’741 Patent, including at least claims 8-

10, 12, 15, and 16 pursuant to 35 U.S.C. § 271(c).




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          281.   Defendants contributorily infringe with knowledge that the ’741 Accused Products,

or the use thereof, infringe the ’741 Patent. Defendants knowingly and intentionally contributed to

the direct infringement of the ’741 Patent by others by supplying these integrated circuit devices

that embody a material part of the claimed invention of the ’741 Patent, which are known by the

Defendants to be specially made or adapted for use in an infringing manner. For example, and

without limitation, the ’741 Accused Products are used in various end products, such as computers,

networking gear, and mobile telephones.

          282.   The ’741 Accused Products are not staple articles or commodities of commerce

suitable for non-infringing use and are especially made for or adapted for use in infringing the ’741

Patent.

          283.   There are no substantial uses of the ’741 Accused Products that do not infringe the

’741 Patent.

          284.   By contributing a material part of the infringing computing products sold, offered

for sale, imported, and used by their customers, resellers, and users, Defendants have been and are

now indirectly infringing the ’741 patent under 35 U.S.C. § 271(c).

          285.   Defendants’ direct and indirect infringement of the ’741 Patent has injured Katana,

and Katana is entitled to recover damages adequate to compensate for such infringement pursuant

to 35 U.S.C. § 284. Unless they cease their infringing activities, Defendants will continue to injure

Katana by infringing the ’741 Patent.

          286.   On information and belief, Defendants acted egregiously and with willful

misconduct in that their actions constituted direct or indirect infringement of a valid patent, and

this was either known or so obvious that Defendants should have known about it. Defendants

continue to infringe the ’741 Patent by making, using, selling, offering for sale, and importing in




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the United States the ’741 Accused Products, and to induce the direct infringement of others

performing these acts, or they have acted at least in reckless disregard of Katana’s patent rights.

       287.    On information and belief, Defendants will continue their infringement

notwithstanding actual knowledge of the ’741 Patent and without a good faith basis to believe that

their activities do not infringe any valid claim of the ’741 Patent. All infringement of the ’741

Patent following Defendants’ knowledge of the ’741 Patent is willful, and Katana is entitled to

treble damages and attorneys’ fees and costs incurred in this action under 35 U.S.C. §§ 284 and

285.

       288.    Katana has incurred and will continue to incur substantial damages, including

monetary damages.

       289.    Katana has been and continues to be irreparably harmed by Defendants’

infringement of the ’741 Patent.

       290.    Therefore, Katana is entitled to an injunction, actual and/or compensatory damages,

reasonable royalties, pre-judgment and post-judgment interest, enhanced damages, and costs.

                  COUNT VII - INFRINGEMENT OF THE ’903 PATENT

       291.    Katana hereby realleges paragraphs 1 through 290 as though fully set forth herein.

       292.    Defendants directly and/or through its subsidiaries, affiliates, agents, and/or

business partners, have in the past and continue to directly infringe at least claims 8, 9, 11-17, and

19-22 of the ’903 Patent pursuant to 35 U.S.C. § 271(a) by making, using, selling, or offering to

sell, and/or importing integrated circuits devices that embody the inventions claimed in the ’903

Patent, within the United States and this District.

       293.    On information and belief, the accused integrated circuit devices include a

semiconductor device comprising: a semiconductor substrate; a plurality of diffusion layer patterns




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formed on the semiconductor substrate; an insulation film formed between the diffusion layer

patterns on the semiconductor substrate to isolate the diffusion layer patterns from one another; a

pattern portion formed above the diffusion layer patterns and/or the insulation film, the pattern

portion using as a material thereof one kind selected from a group consisting of aluminum (Al),

tungsten (W), titanium (Ti), copper (Cu), tantalum (Ta), and a chemical compound composed of

at least one metal out of aluminum (Al), tungsten (W), titanium (Ti), copper (Cu), and tantalum

(Ta); and a through plug formed to have a side surface being in contact with the insulation film,

the side surface being surrounded by the insulation film without being in contact with the diffusion

layer patterns, and to pass through the insulation film and the semiconductor substrate, the through

plug being partly surrounded by the pattern portion above the diffusion layer patterns and/or the

insulation film and being insulated from the pattern portion.

       294.    Defendants have been and are engaged in one or more of these direct infringing

activities related to their manufacturing of integrated circuits that employ TSV such as Advanced

CMOS Image Sensors, a representative example being the integrated circuit devices manufactured

for ON Semiconductor as the AR0430 Stacked Back-Illuminated CMOS Image Sensor.

       295.    On information and belief, Defendants’ integrated circuits that employ TSV

infringe at least claims 8, 9, 11-17, and 19-22 of the ’903 Patent. Such infringing products are

referred to hereinafter as the “’903 Accused Products.”

       296.    Defendants, directly and/or through its subsidiaries, affiliates, agents, and/or

business partners, have committed and continue to commit acts of indirect infringement, including

at least claims 8, 9, 11-17, and 19-22 of the ’903 Patent pursuant to 35 U.S.C. §§ 271(b) and 271(c)

by actively inducing or contributing to the acts of direct infringement performed by others in the

United States, the State of Texas, and the Western District of Texas.




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       297.    Defendants have actual notice of the ’903 Patent and the infringement alleged

herein at least as early as November 26, 2019.

       298.    On information and belief, Defendants have numerous lawyers and other active

agents of Defendants and of its owned and controlled subsidiaries who regularly review patents

and published patent applications relevant to technology in the fields of the Patents-in-Suit,

specifically including patents directed to semiconductor devices issued to competitors such as

Toshiba, the original assignee of the ’903 Patent.

       299.    On information and belief, the Defendants themselves have been issued over 30,000

patents worldwide held in the name of one of the Defendants or a related entity, many of which

are patents prosecuted in the USPTO in the same technology area as the ’903 Patent, giving

Defendants intimate knowledge of the art in fields relevant to this civil action. The timing,

circumstances and extent of Defendants obtaining actual knowledge of the ’903 Patent prior to the

commencement of this lawsuit will be confirmed during discovery.

       300.    Upon gaining knowledge of the ’903 Patent, it was, or became, apparent to

Defendants that the manufacture, sale, importing, offer for sale, and use of the ’903 Accused

Products results in infringement of the ’903 Patent. On information and belief, Defendants have

engaged and will continue to engage in activities constituting inducement of infringement,

notwithstanding their knowledge, or willful blindness thereto, that the activities they induce result

in infringement of the ’903 Patent.

       301.    The ’903 Accused Products are intended for integration into products known to be

sold widely in the United States. Defendants make integrated circuit devices that embody the

inventions claimed in the ’903 Patent, which devices infringe when they are imported into, or sold,

used, or offered for sale in the United States.




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       302.    Defendants indirectly infringe by inducing customers (including fabless design

companies) and other downstream parties (such as makers of mobile devices and other devices) to

import products that incorporate integrated circuit devices embodying inventions claimed in the

’861 Patent, or to sell or use such products, or offer them for sale, in the United States.

       303.    For example, Defendants induce fabless design companies, importers, resellers, and

others who purchase or otherwise obtain devices manufactured at Defendants’ overseas facilities

to import devices embodying inventions recited in claims of the ’903 Patent, or to sell or use such

devices, or offer them for sale in the United States without authority.

       304.    Defendants encourage customers, resellers, or others to import into the United

States and sell and use in the United States the ’903 Accused Products with knowledge and the

specific intent to cause the acts of direct infringement performed by these third parties.

       305.    On information and belief, after Defendants obtained knowledge of the ’903 Patent,

the ’903 Accused Products have been and will continue to be imported into the United States and

sold in large volumes by themselves and by others, such as customers, distributors, and resellers.

       306.    Defendants work closely with their customers in the process of finalizing circuit

designs and planning for the preparation of masks to be used in the manufacturing process, so that

these aspects of the manufacturing process are optimized for Defendants’ process technologies and

equipment. Defendants also offer their customers outsourced semiconductor testing/analysis,

prototyping, mask services, and technical support services.

       307.    Defendants are aware that the ’903 Accused Products are integral components of

the products incorporating them, that the infringing integrated circuits are built into the products

and cannot be removed or disabled by a purchaser of the products containing the infringing

integrated circuit devices, such that Defendants’ customers will infringe one or more claims of the




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’903 Patent by incorporating such integrated circuit devices in other products, and that subsequent

importation, sale and use of such products in the United States would be a direct infringement of

the ’903 Patent. Therefore, Defendants are aware that their customers will infringe one or more

claims of the ’903 Patent by selling, offering for sale, importing, and/or using the products supplied

by Defendants.

         308.   Defendants directly benefit from and actively and knowingly encourage

customers’, resellers’, and users’ importation of these products into the United States and sale and

use within the United States. Defendants actively encourage customers, resellers, and downstream

users to import, use, and sell in the United States the ’903 Accused Products that they manufacture

and supply, including through advertising, marketing, and sales activities directed at United States

sales.

         309.   On information and belief, Defendants are aware of the size and importance of the

United States market for customers of their products, and distribute or supply these products

intended for importation, use, and sale in the United States. Defendants routinely market the ’903

Accused Products to third parties for inclusion in products that are sold to customers in the United

States. Defendant TSMC North America, Inc. provides a direct sales outlet for these products in

the United States. Defendants’ marketing efforts show that they have specifically intended to and

have induced direct infringement in the United States.

         310.   Defendants have engaged and will continue to engage in additional activities to

specifically target the United States market for the ’903 Accused Products and actively induce

manufacturers, importers, resellers, customers, and end users to directly infringe one or more

claims of the ’903 Patent in the United States.




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       311.     For example, Defendants have showcased their semiconductor manufacturing

capabilities and process technologies at least through written materials distributed in the United

States and through the www.tsmc.com website in an effort to showcase their process technology,

manufacturing, testing, and market applications, and to encourage customers to engage Defendants

to produce integrated circuits for inclusion in the customers’ devices and products. See, e.g.,

https://www.tsmc.com/english/dedicatedFoundry/technology/cmos.htm (last accessed December

6, 2019).

       312.     These materials target fabless design companies and integrated semiconductor

device manufacturers and generally companies that make, use, offer to sell, sell, or import in the

United States products that use integrated circuit devices such as those made by Defendants.

Defendants derive significant revenue by selling the ’903 Accused Products to third parties who

directly infringe the ’903 Patent in the United States.

       313.     Defendants’ extensive sales and marketing efforts, sales volume, and partnerships

all evidence their intent to induce companies to infringe one or more claims of the ’903 Patent by

using, offering to sell, selling, or importing products that incorporate the ’903 Accused Products

in the United States. Defendants have had specific intent to induce infringement or have been

willfully blind to the direct infringement they are inducing.

       314.     On information and belief, Defendants have engaged and will continue to engage

in activities constituting contributory infringement of the ’903 Patent, including at least claims 8,

9, 11-17, and 19-22 pursuant to 35 U.S.C. § 271(c).

       315.     Defendants contributorily infringe with knowledge that the ’903 Accused Products,

or the use thereof, infringe the ’903 Patent. Defendants knowingly and intentionally contributed to

the direct infringement of the ’903 Patent by others by supplying these integrated circuit devices




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that embody a material part of the claimed invention of the ’903 Patent, which are known by the

Defendants to be specially made or adapted for use in an infringing manner. For example, and

without limitation, the ’903 Accused Products are used in various end products, such as computers,

networking gear, and mobile devices.

          316.   The ’903 Accused Products are not staple articles or commodities of commerce

suitable for non-infringing use and are especially made for or adapted for use in infringing the ’861

Patent.

          317.   There are no substantial uses of the ’903 Accused Products that do not infringe the

’861 Patent.

          318.   By contributing a material part of the infringing computing products sold, offered

for sale, imported, and used by their customers, resellers, and users, Defendants have been and are

now indirectly infringing the ’903 Patent under 35 U.S.C. § 271(c).

          319.   Defendants’ direct and indirect infringement of the ’903 Patent has injured Katana,

and Katana is entitled to recover damages adequate to compensate for such infringement pursuant

to 35 U.S.C. § 284. Unless they cease their infringing activities, Defendants will continue to injure

Katana by infringing the ’903 Patent.

          320.   On information and belief, Defendants acted egregiously and with willful

misconduct in that their actions constituted direct or indirect infringement of a valid patent, and

this was either known or so obvious that Defendants should have known about it. Defendants

continue to infringe the ’903 Patent by making, using, selling, offering for sale, and importing in

the United States the ’903 Accused Products, and to induce the direct infringement of others

performing these acts, or they have acted at least in reckless disregard of Katana’s patent rights.




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       321.     On information and belief, Defendants will continue their infringement

notwithstanding actual knowledge of the ’903 Patent and without a good faith basis to believe that

their activities do not infringe any valid claim of the ’903 Patent. All infringement of the ’903

Patent following Defendants’ knowledge of the ’903 Patent is willful, and Katana is entitled to

treble damages and attorneys’ fees and costs incurred in this action under 35 U.S.C. §§ 284 and

285.

       322.     Katana has incurred and will continue to incur substantial damages, including

monetary damages.

       323.     Katana has been and continues to be irreparably harmed by Defendants’

infringement of the ’903 Patent.

       324.     Therefore, Katana is entitled to an injunction, actual and/or compensatory damages,

reasonable royalties, pre-judgment and post-judgment interest, enhanced damages, and costs.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Katana requests that judgment be entered in favor of Katana and

against the Defendants, and that Katana be granted the following relief:

       (i)      A declaration that the ’861 Patent is valid and enforceable;

       (ii)     A declaration that the ’212 Patent is valid and enforceable;

       (iii)    A declaration that the ’002 Patent is valid and enforceable;

       (iv)     A declaration that the ’879 Patent is valid and enforceable;

       (v)      A declaration that the ’806 Patent is valid and enforceable;

       (vi)     A declaration that the ’741 Patent is valid and enforceable;

       (vii)    A declaration that the ’903 Patent is valid and enforceable;

       (viii)   A declaration that Defendants have directly infringed one or more claims of the
                ’861 Patent, either literally and/or under the doctrine of equivalents;




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(ix)    A declaration that Defendants have indirectly infringed one or more claims of the
        ’861 Patent;

(x)     A declaration that Defendants have directly infringed one or more claims of the
        ’212 Patent, either literally and/or under the doctrine of equivalents;

(xi)    A declaration that Defendants have indirectly infringed one or more claims of the
        ’212 Patent;

(xii)   A declaration that Defendants have directly infringed one or more claims of the
        ’002 Patent, either literally and/or under the doctrine of equivalents;

(xiii) A declaration that Defendants have indirectly infringed one or more claims of the
       ’002 Patent;

(xiv)   A declaration that Defendants have directly infringed one or more claims of the
        ’879 Patent, either literally and/or under the doctrine of equivalents;

(xv)    A declaration that Defendants have indirectly infringed one or more claims of the
        ’879 Patent.

(xvi)   A declaration that Defendants have directly infringed one or more claims of the
        ’806 Patent, either literally and/or under the doctrine of equivalents;

(xvii) A declaration that Defendants have indirectly infringed one or more claims of the
       ’806 Patent;

(xviii) A declaration that Defendants have directly infringed one or more claims of the
        ’741 Patent, either literally and/or under the doctrine of equivalents;

(xix)   A declaration that Defendants have indirectly infringed one or more claims of the
        ’741 Patent;

(xx)    A declaration that Defendants have directly infringed one or more claims of the
        ’903 Patent, either literally and/or under the doctrine of equivalents;

(xxi)   A declaration that Defendants have indirectly infringed one or more claims of the
        ’903 Patent;

(xxii) An award of damages sufficient to compensate Katana for Defendants’
       infringement of the ’861, ’212, ’002, ’879, ’806,’741, and ’903 Patents pursuant to
       35 U.S.C. § 284;

(xxiii) An award of prejudgment and post-judgment interest pursuant to 35 U.S.C. § 284;

(xxiv) A payment of ongoing royalties in an amount to be determined for any continued
       infringement after the date that judgement is entered;

(xxv) Treble damages for willful infringement as permitted under 35 U.S.C. § 284;


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       (xxvi) An award of attorneys’ fees incurred in prosecuting this action, on the basis that
              this is an exceptional case provided by 35 U.S.C. § 285;

       (xxvii) Enjoin each Defendant, its officers, subsidiaries, agents, servants, and employees,
               and all persons in active concert with any of the foregoing from further
               infringement of the ’861, ’212, ’002, ’879,’806, ’741, and ’903 Patents; and

       (xxviii)Such other and further relief as this Court shall deem appropriate.

                                        JURY DEMAND

       Plaintiff demands a trial by jury of any and all issues triable of right before a jury pursuant

to Rule 38 of the Federal Rules of Civil Procedure.

                                 RESERVATION OF RIGHTS

       Plaintiff’s investigation is ongoing, and certain material information remains in the sole

possession of Defendants or third parties, which will be obtained via discovery herein. Plaintiff

expressly reserves the right to amend or supplement the causes of action set forth herein in

accordance with Rule 15 of the Federal Rules of Civil Procedure.

Dated: December 6, 2019                               Respectfully submitted,


                                                      /s/ Robert Christopher Bunt

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